                           UNITED STATES DISTRICT COURT
                            NORTHERN DISTRICT OF OHIO
                                 EASTERN DIVISION

IN RE NATIONAL PRESCRIPTION                         MDL No. 2804
OPIATE LITIGATION
                                                    Case No. 17-md-2804
This document relates to:
The State of Alabama v. Purdue Pharma L.P.,         Hon. Dan Aaron Polster
No. 18-op- 45236-DAP


        THE MANUFACTURER DEFENDANTS’ JOINT MOTION TO DISMISS
                ALABAMA’S FIRST AMENDED COMPLAINT

       Pursuant to Rule 12(b)(6) of the Federal Rules of Civil Procedure, the Manufacturer

Defendants—Purdue Pharma LP, Purdue Pharma Inc., and The Purdue Frederick Company Inc.

(“Purdue”); and Endo Health Solutions Inc. and Endo Pharmaceuticals Inc. (“Endo”)—move this

Court to dismiss all claims asserted against them in the First Amended Complaint of plaintiff, the

State of Alabama, for failure to state a claim upon which relief can be granted. This Motion will

be supported by the pleadings, the record, a Memorandum of Law in Support of the

Manufacturer Defendants’ Joint Motion to Dismiss Alabama’s First Amended Complaint, which

is filed contemporaneously herewith and incorporated herein by reference, oral argument, and

any other evidence requested or permitted by the Court.

       WHEREFORE, the Manufacturer Defendants respectfully request that the Court grant

their Motion in its entirety and dismiss all of Alabama’s claims against them with prejudice.

Dated: June 29, 2018                         Respectfully submitted,

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                                CERTIFICATE OF SERVICE

       I hereby certify that on the 29th of June, 2018, I electronically filled the forgoing with the

Clerk of the Court by using the CM/ECF System. Copies will be served upon counsel of record

by, and may be obtained through, the Court CM/ECF systems.


Dated: June 29, 2018                          By: /s/ Mark S. Cheffo
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